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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  REINALDO JAVIER RIVERA,


                                                                                    JUDGMENT IN A CIVIL CASE
                  Petitioner,


                                            V.                                    CASE NUMBER: 1:13CV-161

                  SHAWN EMMONS, Warden of the Georgia
                  Diagnostic and Classification State Prison,



                  Respondent.



                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that in accordance with this Court's order dated September 13, 2024, Petitioner Reinaldo Javier

                     Rivera's Amended 2254 Habeas Corpus Petition is denied. Rivera is denied Certificate of

                     Appealability for any claims and his request for an Evidentiary Hearing is also denied. This case

                     stands closed.




           September 13, 2024                                                   John E. Triplett, Acting Clerk
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
                                                                                               rk
GAS Rev 10/2020
